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 1                        UNITED STATES OF AMERICA
                         UNITED STATES DISTRICT COURT
 2                        MIDDLE DISTRICT OF FLORIDA

 3
                                    - - -
 4                      HONORABLE ANTHONY E. PORCELLI
                  UNITED STATES MAGISTRATE JUDGE PRESIDING
 5                                  - - -

 6    Cin-Q AUTOMOBILES, INC.,   )
                                 )
 7            PLAINTIFF,         )
                                 )
 8    VS.                        ) NO. 8:13-cv-1592-AEP
                                 )
 9    BUCCANEERS LIMITED         )
      PARTNERSHIP,               )
10                               )
              DEFENDANT.         )
11    ___________________________)
                                 )
12    TECHNOLOGY TRAINING        )
      ASSOCIATES,                )
13                               )
              PLAINTIFF,         )
14                               ) NO. 8:16-cv-1622-AEP
      VS.                        )
15                               )
      BUCCANEERS LIMITED         )
16    PARTNERSHIP,               )
                                 )
17            DEFENDANT.         )

18                             EVIDENTIARY HEARING

19                   REPORTER'S TRANSCRIPT OF PROCEEDINGS
                               OCTOBER 20, 2016
20                              TAMPA, FLORIDA

21

22
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25



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 1                                     I N D E X

 2

 3    Court's Exhibits                                               ADM

 4       Exhibit   No.   1                                           24
         Exhibit   No.   2                                           24
 5       Exhibit   No.   3                                           24
         Exhibit   No.   4                                           29
 6       Exhibit   No.   5                                           29
         Exhibit   No.   6                                           29
 7

 8

 9

10    WITNESS:

11    Phillip A. Bock

12       Examination by The Court:                                    9
         Examination by Mr. Cohen:                                   42
13

14

15    David M. Oppenheim

16       Examination by The Court:                                   47

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 1                     TAMPA, FLORIDA; OCTOBER 20, 2016

 2                                    - - -

 3                     (COURT IN SESSION AT 10:13 A.M.)

 4                                    *   *   *

 5                MADAM CLERK:    Technology Training Associates vs.

 6    Buccaneers Limited Partnership, 8:16-cv-122-AEP.

 7                THE COURT:    Counsel state your appearances for the

 8    record, please.

 9                MR. COHEN:    Daniel Cohen of the Bock Law Firm on

10    behalf of Technology Training Associates, et., al.

11                THE COURT:    Thank you, Mr. Cohen.

12                MR. BOCK:    Phil Bock for the same parties.

13                THE COURT:    Thank you, Mr. Bock.     Good morning.

14                MR. OPPENHEIM:    David Oppenheim for Bock Law Firm.

15                THE COURT:    Thank you, Mr. Oppenheim.

16                MR. MESTER:    Good morning, your Honor.      Mark Mester

17    for the Buccaneers.

18                THE COURT:    Thank you.    Good morning.

19                MS. LALLY:    Good morning, your Honor.      Kathleen

20    Lally for the Buccaneers.

21                THE COURT:    Good morning.

22                MR. VARNER:    Good morning.    Joe Varner for the

23    Buccaneers.

24                THE COURT:    Good morning.

25                MR. D.S. COHEN:    Good morning, your Honor.



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 1    David Cohen for the Buccaneers.

 2                THE COURT:    All right.    Good morning.

 3                I know we have requested interveners present in the

 4    well in the back, and you don't need to announce on the

 5    record, but I will just note that for the record.

 6                This matter was scheduled sua sponte by the Court

 7    wanting to conduct an inquiry regarding potential for any

 8    conflict of interest regarding proposed counsel for the

 9    settlement as proposed in this potential Class.

10                I'll note a couple additional things for the

11    record.   There has been a supplemental authority that was

12    provided in the record yesterday regarding the injunctive

13    relief sought before Judge Honeywell in which the Court

14    denied the injunctive relief.       I'll note that for the record

15    filed in this case at Document No. 47.        That was in case

16    No. 16-cv-1622 before Judge Honeywell.

17                Additionally, I'll note the brief that was filed at

18    Document No. 46.     I've reviewed the brief, as well as the

19    attachments to the brief, which included the transcript

20    before Judge Honeywell for the preliminary injunction.

21                Having said that, I have additional questions

22    beyond what was explored for the preliminary injunction, as

23    well as I see it is a different -- although the issues are

24    substantially similar, there are still different issues I

25    must resolve before we go forward.



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 1                 So let me just start off then, Mr. Cohen, are you

 2    going to make the presentation of the witnesses?

 3                 MR. COHEN:   Judge, to the extent the Court desires

 4    that, yes.    And I only say that because going over my notes

 5    the Court had indicated it would have questions.          So I didn't

 6    know whether the Court would start the interrogation.

 7                 THE COURT:   Well, let's not call it interrogation.

 8    How about just an examination.

 9                 MR. COHEN:   I didn't mean that.

10                 THE COURT:   I hope no one feels that.

11                 Well, let's -- let me just ask this, because if

12    there is something that you would like to put on the record

13    first, then fine.     I do have my own independent questions.

14    So I was going to give you the opportunity.         But, I have

15    reviewed the entirety of the transcript in the preliminary

16    injunction, so if it was simply matters that you wanted to

17    cover that were previously covered there, there is no need,

18    but if there is something beyond that you want to explore

19    with the witnesses, you may do so.

20                 MR. COHEN:   Judge, I think we had told the Court

21    long ago we were interested in transparency, and so -- may I

22    approach the lectern?

23                 THE COURT:   You may.

24                 MR. COHEN:   I hope we have extra copies of this.

25    In going through everything, we don't find anything that is



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 1    troubling, disturbing or anything else about anything.

 2                There is one email chain that is not necessarily

 3    flattering, but we don't think it has any bearing on any

 4    issues in this case or in settlements.        But in the goal of

 5    full disclosure and candor we wanted to bring it to the

 6    Court's attention.

 7                It is an email chain on April 29th, of 2016.         And

 8    so the Court may understand its context, Bock Law Firm works

 9    as co-counsel with the Anderson & Wanca Law Firm in many

10    class actions.     In fact, we still do at this time.        And on

11    April 29th, an issue came up in a separate and distinct class

12    action called Ross vs. Rogan -- Ross Good vs. Rogan Shoes,

13    where the parties were trying to agree on a mediator.           And

14    one of the mediator's the parties seemed to agree on was

15    Wayne Anderson.     And then Mr. Wanca expressed that he was not

16    okay with Wayne Anderson.      At this point, April 29th,

17    Mr. Oppenheim already is employed at Bock Law Firm.           And when

18    Phil Bock became aware that there was a problem with Wayne

19    Anderson, he asked Mr. Oppenheim what the problem was because

20    we've used Wayne Anderson before.        And at that point

21    Mr. Oppenheim expressed to him that it was probably that

22    Mr. Wanca was dissatisfied with Mr. Anderson's performance in

23    the Cin-Q/Buccaneers mediations because Mr. Wanca had some

24    goal of a record setting settlement, and he didn't think

25    that Mr. Anderson was doing a good job.         And I'm summarizing



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 1    the exact words in the text, which will speak for themselves.

 2                In the dialogue between Mr. Bock and Mr. Oppenheim

 3    after that, Mr. Bock expressed his views of Mr. Wanca's

 4    settlement methods, and he, at some point, expressed the view

 5    that Mr. Oppenheim would be doing the Class a service if he

 6    found a client, and he went ahead, and he prosecuted and

 7    settled the Buccaneers class action.        At all times,

 8    Mr. Oppenheim remained very neutral in his responses.

 9                And at the end of the email chain between Mr. Bock

10    and Mr. Oppenheim, Mr. Bock, later that afternoon,

11    communicated with myself and Tod Lewis, another attorney in

12    the firm, and he said, "Hmmm, Brian holding out for a record

13    settlement in an uncertified case, not that the latter part

14    is so relevant.     We could find a Plaintiff and approach the

15    Defendant about settling.      LOL.    Lots of laughs."

16                We're bringing this to the Court's attention

17    because out of everything that exists and everything that

18    transpired, there is nothing, and this is the only thing that

19    we would think that the lawyers at the Wanca firm would want

20    to know about and we would certainly think the Court would

21    want to know about.      So I have a copy here, if I may?

22                THE COURT:    You may approach, yes.

23                MR. COHEN:    Thank you.

24                THE COURT:    The whole string is on April 29th?

25                MR. COHEN:    I believe it is, Judge.



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 1                THE COURT:    All right.    Mr. Bock, if I could start

 2    with you, then, and I just ask, and I apologize for the

 3    inconvenience, but it will just make it simpler if you just

 4    come to the witness stand so we can do it that way, and I'm

 5    going to ask my courtroom deputy to place you under oath.

 6                MR. BOCK:    Where is it?

 7                MADAM CLERK:    Right there.    Watch your step.

 8    Please face me and raise your right hand.

 9                THE WITNESS:    I do.

10    (Witness sworn.)

11                MADAM CLERK:    Have a seat, please.      I'll ask you to

12    state your name for the record, and spell your last name,

13    please.

14                THE WITNESS:    Phillip A. Bock, B-O-C-K.

15                THE COURT:    All right.

16                              PHILLIP A. BOCK

17    Called as a witness herein, having been first duly sworn

18    was examined and testified as follows:

19                                EXAMINATION

20    BY THE COURT:

21    Q.    Mr. Bock, so that is actually very helpful because I did

22    have some questions regarding what I would call the

23    "triggering event" as to when your firm decided to pursue a

24    litigation.    As I understand your prior testimony, you

25    indicated it occurred sometime around April 18th, in a



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 1     conversation with Mr. Addison.       Do you recall that testimony?

 2     A.   I do recall that testimony.

 3     Q.   All right.     So, if you can, elaborate on that.       What was

 4     the significance of that event to you?

 5     A.   Well, if I could back up a little bit.         In 2009 and

 6     2010, Mr. Wanca and I had talked about filing a TCPA case

 7     against the Buccaneers for junk faxes and exchanged emails

 8     with Mike Addison about that.       Mike Addison said he'd file

 9     the case, or something, and we were going to join that.           And,

10     I didn't hear anything further of it, and we were super busy

11     with literally hundreds of class actions.        And around the end

12     of 2011, this opinion came out from the 7th Circuit in

13     Ashford Gear, and at the time we had maybe 100 of these cases

14     on file with this Business-to-Business Solutions, and my firm

15     took it upon ourselves to dedicate the next year digging out

16     of that hole all around the country, and you know, frankly we

17     won everywhere.    We were able to make Anderson & Wanca be

18     Class counsel with us in most cases.        We were never accused

19     of doing anything wrong.      They were.    We argued that they did

20     nothing wrong.    We convinced most Courts that they did

21     nothing wrong.    All the Courts agreed we could be Class

22     counsel.   Most agreed they could also be Class counsel.

23     While that was happening, Mr. Wanca was filing all kinds of

24     cases without me.     We'd been in a joint venture for TCPA

25     cases for years, since, like, 2003.



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 1                So, fast forward to maybe 2013, and I'm getting

 2     alerts, you know, Google news alerts or whatever about class

 3     actions and I see that they filed one against the Buccaneers,

 4     apparently we're not in it.      Well, I don't have any

 5     plaintiffs.    I don't have the transmission reports that they

 6     had found in one of our -- I think, in one of our joint

 7     cases, just like in Ashford Gear.       Mr. Good told me at the

 8     Christmas party at the end of 2011, that they had obtained

 9     another hard drive that was going to be even better than the

10     Caroline Abraham hard driving B to B.

11                And I was a little distracted cause Judge Posner

12     had just issued an opinion naming only my firm and saying we

13     were scumbags, and that was like the end of Thanksgiving

14     break or something like that.       Like I said, we didn't do

15     anything wrong.    We weren't even accused of doing anything

16     wrong except Judge Posner said, "Class counsel, primarily

17     attorneys from Bock & Hatch are bad people."

18                My point is I don't know where they got the

19     transmission records for this case, but reviewing the case

20     they basically had the transmission records and then they

21     went and started taking depositions manned by two or three

22     attorneys, and sort of built the case, and kind of made it

23     worse by proving that the Buccaneers had some pretty good

24     excuses about people, and aliases, and all this stuff,

25     tricking them, and convincing them that that's legal or



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 1     whatever.

 2                  So, the whole time I just didn't have a Plaintiff.

 3     I didn't have the transmission records, and how can you file

 4     a case when you don't even know who's in the class.

 5                  So, April 18th -- so, along the way -- and

 6     Mr. Oppenheim never mentioned he worked for Wanca's Wanca's

 7     office for a few years, and he knew that there was this

 8     tension of, "they were filing cases behind my back and then

 9     doing it while I knew it," but he was the lead guy settling

10     them and stuff.    So him and I would spend lots of time in

11     mediations on joint cases and we never mention the cases I'm

12     not in because he knew it would make me very hostile to hear

13     about how they're making money on cases that were primarily

14     my idea, my work.     My firm did all the class cert arguments,

15     briefing, appeals.     I've argued these cases in, like, six

16     different federal appellate courts, for example.

17                  Sorry, I get a little angry about this situation.

18     Q.   Do you remember the question?

19     A.   Yeah.    I'm sorry, your Honor.     April 18th, I go to argue

20     the Florida First vs. Term Provider summary judgment in a

21     certified class where I'm co-counsel with Wanca and Mike

22     Addison.    And Mike Addison thinks that's a good time to tell

23     me about his Buccaneers case again.       And I say, "again," he

24     talked about it before in front of me anyway, but I didn't

25     have a Plaintiff.



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 1                 So he says -- he says, "Well, I don't know how the

 2     Buccaneers's settlement is going to go.        Wanca is holding out

 3     for -- holding out for a bigger fund so we can get bigger

 4     fees, and I don't know what's going to happen."         And I said,

 5     "I'm not in that case, Mike."       And then, he said something

 6     about -- and this is after Oppenheim had switched to my firm.

 7     He said something about that, and I think he was trying to,

 8     you know, get the juicy story or whatever, and all I said

 9     was, "Look, Dave and I worked together for years.          We liked

10     each other.    We decided you might as well come over and work

11     with me."

12                 At that time, Dave Oppenheim and I had not

13     discussed filing the Buccaneers case.        We never discussed me

14     filing the Buccaneers case or anything like that.          I sent

15     that email saying, "You know, you should do the right thing.

16     You should file that case and get that case settled and get

17     the Class their money before they lose."

18     Q.   I did want to follow up on that.        So, to be clear then,

19     up to April 18th, you had never considered filing a case

20     against the Buccaneers?

21     A.   I had considered it, but I didn't have a plaintiff.

22     Q.   All right.    Let me rephrase it.      Did you ever do any

23     action to pursue it?

24     A.   Not really.    I mean, I sent emails internally and asked

25     people to watch, you know, but, no.



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 1     Q.      If I understood your prior testimony, it was something

 2     at this April 18th encounter that kindled some interest in

 3     pursuing it?

 4     A.      For sure.    Yeah, yeah.

 5     Q.      What did you do after that?

 6     A.      Well --

 7     Q.      Let me be more specific.    Now, in light of the

 8     April 29th email, did you do anything to pursue the

 9     litigation from April 18th to April 29th?

10     A.      No.   No.

11     Q.      All right.    So then, using then, this benchmark email --

12     the benchmark dated on the email of April 29th, after that

13     date what occurred?

14     A.      So after that date, um -- let's see -- at some point

15     around then I became aware that they were not settling the

16     case.    So even though I should have been included in the case

17     I didn't -- I wasn't actively going to file it because

18     somebody else was doing it in front of your Honor.          But then

19     when -- I think I knew -- actually, I think I knew before

20     April 29 that the Buc's had filed a motion for a settlement

21     conference.       Because I get these alerts from Law360.     And I

22     know I got -- I'm sorry.      I'm trying to remember.      I got a

23     Law360 alert that they had filed a class cert motion, and at

24     some point I knew that the Buc's filed something asking for a

25     settlement conference.      And sometime after April 29th -- I



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 1     guess on April 29 is when I told the other guys in my office,

 2     "Hey, maybe we should do one of these cases then."          And I was

 3     still, sort of, not thinking about actively doing it, but it

 4     was in my head, and I don't know, a couple hours later I was,

 5     like, "Yeah, why don't we do it?"       So I just pulled up the

 6     class cert motion.     There's a Biggerstaff report.       He's been

 7     our expert in hundreds of cases.       He says, "Here's all the

 8     people who got them."

 9     Q.   Let me slow you down.      If you could just give

10     Mr. Biggerstaff's name for the record.

11     A.   I'm sorry.     Robert Biggerstaff.

12     Q.   All right.     So he was the expert used in the underlying

13     Cin-Q litigation?

14     A.   Yes.

15     Q.   And so you reviewed the report on ECF, Mr. Biggerstaff's

16     expert report?

17     A.   Yes.   I just pulled the -- yes.       I pulled the

18     Plaintiff's class cert motion.       That was attached.     I looked

19     at his list, and he has a list of all the fax numbers that

20     receive the faxes from the Buccaneers according to the

21     transmission records and then I looked, and we have

22     plaintiffs in Tampa.     I sent marketing letters and that sort

23     of thing to find clients, and find plaintiffs for class

24     actions for junk fax cases.      And so, I just took -- I just

25     put together a little list with Tod Lewis and Jim Smith of my



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 1     firm of, "Who do we know in that area?        What's their fax

 2     number?"    And I looked and I was like, "Hey, here's some

 3     people who have already, like, told us they want to do junk

 4     fax class actions and they are on the list."

 5     Q.   So let me take it step-by-step.        So you pulled the

 6     report, and I think your testimony in redirect during the

 7     preliminary injunction was that you, essentially, OCR'd the

 8     report, is that correct?

 9     A.   Um, yes.    Yeah.   Yeah.

10     Q.   And how long did that process take?

11     A.   Um, ten minutes.

12     Q.   Not a very long process, right?

13     A.   Right.

14     Q.   There is about 131,000 numbers -- in excess of 131,000

15     numbers on that report, correct?

16     A.   I think so.    I thought it was 101,000 and 330,000 faxes

17     or something like that.      Around 100,000.

18     Q.   Around 100,000?

19     A.   Yes.

20     Q.   What was the process you did then, to identify numbers

21     that you had information about on that report?

22     A.   Um, I just looked for, um, plaintiffs that we had in,

23     sort of, our staple of plaintiffs.

24     Q.   What do you mean by that?

25     A.   I looked for their fax numbers.



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 1     Q.   What do you mean by that?

 2     A.   Technology Training Associates has fax numbers.          I know

 3     what they are.    I searched for them in the Biggerstaff

 4     transmission list.

 5     Q.   But you have represented TTA in other cases?

 6     A.   No.    Before that we hadn't filed any cases for them, but

 7     I had talked to them.     They had responded to a marketing

 8     letter that I sent before Oppenheim changed firms or

 9     anything.   That was in marketing.      I think I sent some

10     marketing letters.

11     Q.   And what was the purpose of the marketing letter?

12     A.   The marketing letter was to find people who -- well,

13     everybody receives these junk faxes.        Find people who receive

14     them and want to do something about it, want to be a class

15     representative and pursue claims about them.

16     Q.   When you say, "these junk faxes," are we specifically

17     talking about faxes from the Buccaneers, or just in general

18     junk faxes?

19     A.   I'm sorry, your Honor.      In general.

20     Q.   All right.    So just a general marketing that if you've

21     received an unauthorized fax, if you want to do something

22     about it, contact the firm?

23     A.   Yes.

24     Q.   And so, if I understand your testimony, both TTA and

25     Dr. -- is it Schwanke?



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 1     A.   Yes.

 2     Q.   -- Dr. Schwanke responded to that solicitation?

 3     A.   Yes.

 4     Q.   As part of that solicitation was it just like a form

 5     they sent back with their information or you actually had

 6     client contact with them?

 7     A.   Well, I did have client contact with them.         So what

 8     happens is I wrote a marketing letter, had it approved by the

 9     Bar, sent that out, and then people -- and at the bottom it

10     says, "If you want somebody to contact you, put your name,

11     and phone number, and email address or something."          And these

12     are people who did that.

13                 MR. COHEN:   Your Honor?

14                 THE COURT:   Yes.

15                 MR. COHEN:   We have copies of the actual

16     E-marketing solicitation letters for Technology Training

17     Associates and Dr. Schwanke.      The copies that showed the date

18     they went out as a solicitation, and the dates they came

19     back, if the Court would like to see them?

20                 THE COURT:   Yes, if you can pass that up.       Bear

21     with me one moment, Mr. Bock.

22     (Court peruses document.)

23     BY THE COURT:

24     Q.   So I see on the form that's provided there is where they

25     can say they want to be contacted, and they do provide you a



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 1     number and the email address for contact purposes?

 2     A.   Yes.

 3     Q.   And so, if I understand your testimony then, at some

 4     point someone in your firm contacted both TTA and

 5     Dr. Schwanke?

 6     A.   Yes.

 7     Q.   And that would have been prior to April 29th?

 8     A.   I don't remember.

 9     Q.   Let me rephrase it this way.

10     A.   It would have been me, and I can't remember the date

11     that I first called them.      I try to call those people within

12     the first few days of them returning one of those letters.

13     Q.   I'll rephrase it this way.       If I understand you, you

14     would have had their fax numbers?

15     A.   Yes.

16     Q.   And you were checking it against the report -- the

17     expert report in the Cin-Q case, is that correct?

18     A.   Yes.

19     Q.   To be clear, again, you OCR'd the documents and then

20     just simply did a find within the document, is that correct?

21     A.   Yes.

22     Q.   How many numbers did you go through before you wound up

23     locating these two clients's numbers, fax numbers?

24     A.   Um, I think -- I think Schwanke -- one of them was,

25     like, the first one that I searched.        There was another



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 1     couple three people who -- you know, other people could have

 2     been plaintiffs in the case that I spoke to, but -- I don't

 3     remember searching for anybody and not finding it but maybe I

 4     did.   I mean, it was like every fax number in Tampa or

 5     something like that.

 6     Q.     Do you recall if that all happened on the same date of

 7     April 29th?

 8     A.     I think it was the -- April 29th, I think, was a Friday?

 9     Q.     Yes.

10     A.     I think I did this on Saturday morning.

11     Q.     All right.   So the following day?

12     A.     Exactly.

13     Q.     And who helped you with the process?      Was it Mr. Lewis

14     and Mr. Smith?

15     A.     Yes.

16     Q.     Was there anyone else involved with that process?

17     A.     No.    Dan Cohen was copied on -- I think him and I talked

18     and he had some emails, but he wasn't doing that stuff.

19     Q.     All right.   Tell me what you did next after you

20     identified TTA and Dr. Schwanke on the list?

21     A.     Then I contacted them to see if they were interested in

22     doing this.

23     Q.     And would that have been when, the following week?

24     A.     Yes, if it wasn't that Saturday or something.        I don't

25     remember the date.     But it would have been -- it would have



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 1     been Monday or Tuesday, something like that.         The next week

 2     for sure.

 3     Q.   All right.    What was the nature, without getting into

 4     privileged information but, in essence, what was the nature

 5     of the conversation?

 6     A.   The essence was --

 7     Q.   Let me rephrase it.

 8     A.   Yeah.

 9     Q.   Because I want to tread carefully on these questions.

10     A.   Okay.

11     Q.   How did you confirm independent of the list the expert

12     report that they received a fax from the Buccaneers?

13     A.   I didn't.

14     Q.   Have you ever done that at any point?

15     A.   Well, I have because Dr. Schwanke had kept a big giant

16     pile of junk faxes for the years preceding and he actually

17     has one of the ones he received.       We have the original fax

18     that he received from the -- you know, these broadcasters

19     back in -- it was either '09 or 2010.

20     Q.   How big is that box?

21     A.   Well, it went to Chicago, but, yeah.

22     Q.   How big is his collection of junk faxes?

23     A.   I think it was 7 or 800 pages or something like that.

24     Q.   All right.    So that's why I wanted to confirm.        You are

25     saying Dr. Schwanke had one of the original -- alleged



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 1     original faxes sent to him?

 2     A.   Yeah, he does.

 3     Q.   All right.    What about TTA?

 4     A.   TTA did not.

 5     Q.   The attachments to the complaint -- to the complaint

 6     originally filed in this action, where did those attachments

 7     come from?

 8     A.   From that Biggerstaff report, I think.         I think so.     I

 9     think he attaches a copy of all the exemplar faxes.          So I

10     just attach that as the exhibit to the complaint.

11     Q.   So I understand that essentially, you downloaded the

12     document from the Cin-Q matter and then just cut-and-paste

13     those attachments?

14     A.   Yes.

15     Q.   All right.    Was any of the faxes -- and that's why I'm

16     asking because I don't recall -- as an attachment from

17     Dr. Schwanke, was that an attachment at all in any way?

18     A.   No.     We didn't attach that one.

19     Q.   All right.    The -- the matter -- just in general, and

20     you've already testified previously about this, but I just

21     want to lay this foundation first.       It's clear you do these

22     types of cases throughout the country, is that a fair

23     statement?

24     A.   Yes.

25     Q.   Hundreds of these types of TCPA cases?



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                                                                           23


 1     A.   Yes.

 2     Q.   And so, you handle them mainly in class action

 3     (inaudible), is that correct?

 4     A.   Only -- yeah, only in -- they are only class actions

 5     until a Judge says they're not.

 6     Q.   So when you meet with a potential class representative,

 7     do you discuss the potential, not whether it's a certainty,

 8     but the potential of an incentive award with the potential

 9     class rep?

10     A.   Yes.    Yeah, we put something on our retainer agreement

11     that says, "You know, you're not going to get anything more

12     than everybody else, but the Court can decide to award.           It's

13     totally up to the Court, and we will ask the Court if it's

14     appropriate," or something like that.        It might even say it

15     in those marketing letters.      I don't remember.

16     Q.   But to be clear, you specifically advised that there is

17     no certainty or guarantee of an incentive award?

18     A.   Right.    Yes.

19     Q.   But you explain there is an opportunity for such an

20     award, is that accurate?

21     A.   Yeah.    Well --

22     Q.   The potential opportunity.

23     A.   Well, yeah, yeah.     I mean, otherwise --

24     Q.   Sorry, Melissa.

25     A.   Otherwise nobody does that.       Just like plaintiff's class



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 1     action lawyers don't want to do the cases if they can't make

 2     fees, but there is no guarantee and everything else.

 3                  MR. COHEN:   Your Honor, if I may, we do have an

 4     exemplar retainer that is used --

 5                  THE COURT:   All right.   If you can pass that up.

 6     Thank you.

 7     BY THE COURT:

 8     Q.   What I'm going to do, just for the record, the

 9     April 29th email, I'm going to admit that into the record as

10     Court Exhibit No. 1.      The solicitation letters as Court

11     Exhibit No. 2, and then the retainer agreement.         Is there any

12     concern about any of this being on the public record,

13     particularly the retainer agreement?

14     A.   Well, your Honor, real quick, the retainer agreement,

15     that's for a different case.      I didn't have the foresight to

16     bring the ones that were signed by these two plaintiffs.

17     Q.   What I'll do is I'll allow you to redact out just the

18     case information and the names, you can black that out.           So

19     we can handle that after the hearing, and then, just submit

20     that as Court Exhibit No. 3.      The purpose is just the general

21     language of the incentive award, is that accurate?

22     A.   Yes.    And also -- but also, that's one that we have with

23     Mr. Wanca's firm.

24     (Court's Exhibit Nos. 1, 2, and 3

25     admitted into evidence.)



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 1     BY THE COURT:

 2     Q.   Okay.    I understand.    All right.    So after communicating

 3     with TTA and Dr. Schwanke, when was it definitively decided

 4     to go ahead and pursue a separate action against the

 5     Buccaneers?

 6     A.   I don't remember the date, but pretty soon because I

 7     would have pulled the class motion and the bigger staff

 8     report, I think, on Saturday morning, and then I reached out

 9     to some of these people, including Schwanke and TTA, probably

10     at the beginning of the week, and then when they said they

11     were -- I think -- I think TTA said he was interested first.

12     So, I can't remember.     Um, yeah, I think they said they were

13     interested first.     So then, I think the first case we filed

14     was only them as the Plaintiff, but I can't remember.          But

15     right away.    Right away, and then, Tod Lewis -- I told Tod

16     Lewis, "All right.     Here's some people who want to be

17     plaintiffs.    Let's get the complaint drafted."       He drafted

18     the complaint.    I think we filed it on a Friday.

19     Q.   All right.     So let's start there with Mr. Lewis and that

20     really was the purpose of my question.        At some point you

21     decided we're going to draft the complaint?

22     A.   Yes.

23     Q.   Were there any communications with Mr. Oppenheim about

24     the intent to pursue the litigation?

25     A.   Absolutely not.



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 1     Q.      As I understood your prior testimony, essentially, you

 2     were walling off Mr. Oppenheim.       Is that a fair statement?

 3     A.      Yes.

 4     Q.      So then why not communicate to him, tell him that you

 5     were going to pursue this litigation and that he should stay

 6     away?

 7     A.      Well, I did tell him that after I -- you know, I filed

 8     the case on, like, a Friday, and on Saturday I sent an email

 9     to everybody in the office except Oppenheim, and said, "Don't

10     -- nobody mention any of this stuff," and then, I sent him a

11     text message that said, "Oh, by the way, I filed a case

12     against the Buccaneers.      You're walled off," and something

13     like, "That if people treat you like you have the plague or

14     something, don't take it personally."        But I don't -- I don't

15     -- I didn't think about notifying him that I was planning to

16     file one or something like that.

17     Q.      Did you get to be present for Mr. Oppenheim's testimony

18     during the preliminary injunction?

19     A.      Yes.

20     Q.      Do you recall him testifying that he was completely

21     unaware of the litigation until he received an electronic

22     notice about the litigation?

23     A.      Yes.

24     Q.      So how do you reconcile that?    If you had informed him

25     after filing it with a text message and email, why would he



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                                                                              27


 1     have not known about it until getting an electronic filing

 2     from the Court?

 3     A.   No -- he got the electronic filing from the Court.           He

 4     didn't say anything to me.      I think the case was filed on

 5     Friday, and the -- we had set up the or -- I hadn't.

 6     Somebody at my office had set up my ECF with the Fl -- Tampa,

 7     to be to me, but also to "office" or something like that.           So

 8     he just got it because everybody else got it.         So he actually

 9     got a notification that the case was filed, probably whenever

10     the Clerk did it, and I didn't know that.        I think I saw that

11     I got it.    The next morning is when I sent him a text and I

12     sent everybody else an email.       I think the next morning he

13     says, "Yeah, I got that notice," or something like that.

14     Q.   I apologize.     One moment.    I apologize for my ignorance

15     on this.    I'm not familiar if the State system has electronic

16     filing.    So --

17     A.   Tampa does.

18     Q.   Tampa does.    All right.    So the complaint was filed on

19     May 6th.

20     A.   Okay.

21     Q.   So explain to me then, if -- we're talking in the

22     beginning of May, prior to May 6th, what was the delay to

23     inform Mr. Oppenheim about the pursuit of the litigation?

24     Why not tell him immediately?       Because as you recognize,

25     there was a potential, you wanted to avoid any, even



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 1     accusations of potential conflict, why not, not only tell

 2     everyone else in the firm to wall him off, why not simply

 3     tell Mr. Oppenheim?

 4     A.     You mean before I filed the complaint?

 5     Q.     Yes.

 6     A.     When I was "drafting" it?

 7     Q.     Yes.

 8     A.     I don't know.    I didn't think about it.     We just didn't

 9     copy -- we didn't include him in the conversations.          We did

10     keep it a tight, like, one paralegal and two or three

11     attorneys, one, two, three, four attorneys, plus me.          But not

12     him.   We had -- so we just, in fact, walled him off, screened

13     him off.      He wouldn't have had any opportunity to see or

14     know, I don't even know if he was in town.         It's possible he

15     was on vacation.      I can't remember.

16                   MR. COHEN:   Judge, if I may, we have documents

17     contemporaneous with these events.

18                   THE COURT:   All right.    Please.

19                   MR. COHEN:   I'm handing the Court an email from

20     Mr. Bock to the office advising of the filing of the

21     Buccaneers case, and that Mr. Oppenheim is to be walled off.

22                   We also have --

23                   THE COURT:   One moment.    For the record, that's a

24     Saturday, May 7th, email.       I'll admit that as Court Exhibit

25     No. 4.



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 1                MR. COHEN:    Thank you, Judge.

 2     (Court Exhibit No. 4

 3     admitted into evidence.)

 4                MR. COHEN:    We also have a screen shot of a text

 5     message from Mr. Bock to Mr. Oppenheim on Saturday, May 7th,

 6     at 10:38 a.m., saying, "I filed a case against Buccaneers and

 7     asked everyone to leave you out of it.        So if everybody is

 8     staring at you like you are infected, that's what it is.

 9     Please keep confidential."

10                THE COURT:    All right.    That will be entered as

11     No. 5.   Thank you.

12     (Court's Exhibit No. 5

13     admitted into evidence.)

14                MR. COHEN:    And finally, Judge, relating to this

15     discussion of Mr. Oppenheim receiving electronic notice of

16     our filing, um, presumably because Mr. Oppenheim already knew

17     by the time Mr. Bock told him, Mr. Oppenheim sent to

18     Mr. Bock, if I'm interpreting this email correctly, the email

19     that Mr. Oppenheim had received electronically from the Court

20     system the afternoon before.

21                THE COURT:    All right.    That will be No. 6.     Thank

22     you.

23                MR. COHEN:    Thank you, Judge.

24     (Court Exhibit No. 6

25     admitted into evidence.)



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 1                 THE WITNESS:   And your Honor --

 2     BY THE COURT:

 3     Q.   Yes.

 4     A.   If I could add to my answer.       Your question was, "Why

 5     didn't I screen him off earlier?"       It was because I never

 6     thought that he actually had a conflict.        I had been through

 7     this before.    This -- I've been doing class actions a long

 8     time, and I have encountered the same issue where people file

 9     case -- a new case, they file a competing case, somebody

10     who's -- I had a case certified nationwide class in Madison

11     County, Illinois, affirmed by the Appellate Court.          The

12     Supreme Court didn't take it.       The US Supreme Court doesn't

13     take it.    One of the three people appointed class counsel

14     files a new case out in New Jersey and they settled the case

15     out there, and everything -- there was no conflict.          There

16     was no -- there was no problem, because the class action

17     lawyers represent the Class, not some person who received a

18     junk fax, or paid an early termination fee on a cell phone or

19     whatever.    It's all about the whole Class.

20                 So I didn't really think about it from a

21     conflict/ethics point.     It was, "Keep Dave out of it because

22     his former employer is going to have a cow about this."           You

23     know what I mean?     I don't want to sound flip, your Honor,

24     but it wasn't -- I don't believe Dave Oppenheim knows

25     anything that is secret, or useful or anything else.          There



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 1     was a whole big giant pile of faxes sent.        Somebody has the

 2     records.    Mr. Biggerstaff attached 'em, and that's it.         The

 3     question is how much liability could the Buccaneers have for

 4     all of those faxes, but beyond that there's not really any

 5     secrets.    This isn't a case -- it's not that kind of case,

 6     you know.

 7     Q.   Well, let me ask you then, going forward then, when the

 8     complaint is filed, did you contact the Buccaneers prior to

 9     filing of the complaint or after the filing of the complaint?

10     A.   After.    And it wasn't me.     When you say, "you," I

11     understand that to be the, "firm."

12     Q.   Sure.    All right.   So that was going to be my next

13     question.    Who was involved with that process?

14     A.   That was Dan Cohen and Jonathan Piper.

15     Q.   Do you know when the first contact was with the

16     Buccaneers?

17     A.   I -- well, I know because they told me that it was the

18     day -- it was after we filed the complaint.

19     Q.   So May 7th.    I don't want to confuse things.        The

20     Friday -- to help you with the dates, April 29th was the

21     email, Exhibit No. 1, is a Friday, the following Friday is

22     May 6th.

23     A.   Okay.

24     Q.   May 7th would have been a Saturday.

25     A.   Okay.    So, I think they either called Mr. Mester at the



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 1     end of the day on Friday, or sometime over the weekend or

 2     first thing Monday morning, but I'm not sure.

 3     Q.   All right.    And were you informed, based upon that

 4     communication -- well, let me rephrase it.         When were you

 5     informed that the Buccaneers were willing to engage in

 6     settlement discussions?

 7     A.   When Mr. Cohen told me after he had spoken to

 8     Mr. Mester, but I don't know if it was the first time or

 9     maybe he spoke to him a couple of times.        I don't remember,

10     but that was the first time I had heard of it, so when

11     Mr. Cohen.

12     Q.   Do you recall how soon after, when you had this

13     conversation, learning that they would engage in settlement

14     discussions, how soon that was from the complaint being filed

15     on May 6th?

16     A.   A few days, probably.      Within a week.

17     Q.   And as you recall, there was some issues going on about

18     whether the settlement was going to go forward, the

19     settlement discussions, that is.       I want to actually just

20     fast forward to the settlement discussions themselves.           Do

21     you recall when that took place?

22     A.   The first mediation session?

23     Q.   Yes.

24     A.   I believe it was on -- no.       May 19th?

25     Q.   All right.    So mid May, is that better for you then?



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 1     A.      Yeah.

 2     Q.      Around May 19th.    Who attended on behalf of the Bock

 3     Firm?

 4     A.      Well, it was myself -- it was me, and Dan Cohen,

 5     Jonathan Piper, another attorney named Jan Smith, and then,

 6     Mike Higgins, who is the president of TTA.

 7     Q.      What information were you armed with going into the

 8     settlement discussions?

 9     A.      The number of faxes that they sent, or that were

10     successfully sent.

11     Q.      And what sources of other -- let me rephrase that.        Was

12     your only source for that information the Biggerstaff report?

13     A.      Yes.    But -- yeah, no.   The people -- let me back up.

14     It was surprisingly a long time ago now.        We did -- we did --

15     we did, before the mediation, pull every single thing from

16     the ECF file in this case, and people read everything, all

17     the depositions, everything was -- you know, memos were

18     prepared, people were talking.       There's a lawyer named Robert

19     Hatch who's in Hawaii.      He was working on it.     Everybody --

20     like, everybody -- all-hands-on-deck, the whole office,

21     everybody except Oppenheim, maybe, I think, his paralegal.

22     We screened him off too.      But five or six attorneys and two

23     paralegals all working to get through all of this, figure out

24     all the legal arguments, what about this, what about that,

25     all of that.      So that when we went to the mediation we knew



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 1     as much as anybody else knew about the case from the stuff in

 2     the public record.

 3     Q.   Outside the public record was there any other

 4     information gathered?

 5     A.   No.

 6     Q.   Was Mr. Oppenheim consulted in any way about the

 7     mediation process?

 8     A.   Not in any way.

 9     Q.   Was he even informed about the mediation taking place?

10     A.   Not by anybody at our firm.       You know, what happened

11     was -- I think -- yeah, I think he was informed by maybe Mike

12     Addison or somebody.     Do you know what I mean?      We filed the

13     case -- my thought was we were going to go and have a

14     mediation, and if we could find out if the Buc's were

15     serious, find out if it's a good deal, get the most we could

16     get, get something that's reasonable and appropriate for the

17     Class, and if all of those things happened, then the plan was

18     to come here in front of your Honor and seek approval of that

19     settlement.    Why?   Because you had the case.      You knew

20     everything about it.     I had wanted to use Wayne Anderson to

21     mediate the case.     Why?   Because Wayne Anderson knew

22     everything about the settlement process.

23                But the other attorneys objected, and prevented

24     Wayne Anderson from being willing to do it.         But Dave

25     Oppenheim -- I -- so he knew about it, but I don't think -- I



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 1     don't think him and I even mentioned about it because right

 2     away we knew -- you know, he's screened off.         That's it.

 3     Don't talk about it.     I live in Miami Beach.      I don't live in

 4     Chicago.    Tod Lewis is in Texas, and Dan Cohen lives in St.

 5     Louis.   Robert Hatch lives in Hawaii.       So most of us aren't

 6     even in the Chicago office, the people working on this, you

 7     know, John Piper and Jim Smith are in Chicago but --

 8     Q.   When you reviewed the public record, did you feel

 9     confident enough that you had an understanding of the nature

10     of the class and the issues at hand in order to engage in

11     settlement?

12     A.   Yes.

13     Q.   Why is that?

14     A.   Because we knew everything, all the depositions, all the

15     transmissions.    They are not that complicated.       You know,

16     these cases are complicated because they are worth a lot of

17     money, and the Defendant pulls out all the stops.          But I've

18     had Judges say, "I don't know why this case is taking three

19     years.   There's a statute.     They violated.     It says how much

20     the damages are.    What's the hold up?"      And then the defense

21     lawyer starts talking about the Constitution, and all this --

22     there's all this -- you can't imagine the litigation that

23     happens in these things, and we read your Honor's opinion,

24     and we knew about that.      Mr. Cohen argued the Cirrus opinion,

25     Cirrus case.    So we were very familiar with everything -- the



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 1     whole -- everything that could be happening in the case we

 2     knew about all that.     We just didn't have the transmission

 3     records, and we didn't take the depositions, but when you

 4     read all of those and you have ten-plus years experience

 5     doing these cases, that's, you know --

 6     Q.   The -- are you familiar with the expert report that was

 7     filed for my consideration and the memorandum in this case?

 8     A.   Um, yes.    You mean for today's hearing?

 9     Q.   Yes.

10     A.   Yes.

11                 MR. COHEN:   I'm sorry, Judge, just for

12     clarification, Mr. Bock may know, I don't know -- I'm not

13     certain I understand what you are referring to.

14                 THE COURT:   I'm going to give you the specifics.

15     I've got to pull it up.

16                 MR. COHEN:   Thank you.

17     BY THE COURT:

18     Q.   So it's attachment No. 1 of Document No. 46.          It's the

19     Declaration of -- I hope I get the name correct, Chinaris?

20     A.   Timothy Chinaris, yes.

21                 MR. COHEN:   Thank you, Judge.

22     BY THE COURT:

23     Q.   So, and this seems in line, as well, with Judge

24     Honeywell's recent order.      My question to you, though, is,

25     was there ever any concern about information that may have



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 1     been revealed by Mr. Oppenheim that was known to him based

 2     upon the other case that could have been utilize in the

 3     pursuit of this action?

 4     A.   Can you --

 5     Q.   Well, let me read the rule to you, and then I'll ask it

 6     again.   What I'm reading for you is 4-1.9(b), which reads, "A

 7     lawyer who has formally represented a client in a matter must

 8     not afterwards use information relating to the representation

 9     to the disadvantage of the former client.        Except as these

10     rules would permit or require with respect to a client or

11     when the information has become generally known."

12                So my question is were you ever concerned about

13     Mr. Oppenheim revealing something that may be known to him

14     based upon his prior representation in the Cin-Q matter?

15     A.   No.

16     Q.   The medical malpractice.

17     A.   Not in the context of that rule.        You know, I was

18     concerned in the context of, "You're off the case.          Let's not

19     talk about it.    You're out."    But, when you say is there some

20     information that could be used against the client everything

21     else the client is the Class.       I thought that for years since

22     I was taught that in other cases.       When I was arguing, "Well,

23     there's a conflict, and what about this, and we're on the

24     same team?"    And the Judges, and the case law, and the law

25     professor in California I tried to hire as an expert, they



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 1     all showed me that, no, that's not the case.         The case is

 2     that the client is the case.      So I don't know --

 3     Q.   The Class is the client.

 4     A.   I'm sorry.    The Class is the client.      I'm sorry.

 5     Q.   So what happens if the Class is not certified?          Who's

 6     the client?

 7     A.   The client is still the Class in the class action.            It's

 8     filed as the class action.      It's filed as "so and so

 9     Plaintiff, in their representative capacity on behalf of

10     everybody else."

11     Q.   Is it not filed individually and on behalf of the Class?

12     A.   That's how it's styled.      I'm not sure why.     But,

13     probably because the person has to identify themselves as a

14     member of the Class.     That's why it says individually, but

15     it's not, "individually or."

16     Q.   You may not have experienced this in your class actions,

17     but isn't it true not all Classes are certified?

18     A.   It is true, yes.

19     Q.   And what happens when a Class is not certified?

20     A.   Phil Bock takes an appeal.

21     Q.   It's an individual case, is it not?

22     A.   It's not.     It's still viewed as a Class action until

23     that's resolved, until the Class stuff is resolved.

24     Q.   So I'll ask it again.      If the Class is not certified,

25     even on appeal, what is it?



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 1     A.      Then it's an individual action.

 2     Q.      And the lawyers then just abandon the client at that

 3     point?

 4     A.      Could they withdraw?   Probably, yes.    I mean, you know,

 5     the client hires us on a contingency basis and they are not

 6     paying any of the expenses.      The client knows, the client,

 7     the named Plaintiff, the representative Plaintiff, I don't

 8     think they really think of Phil Bock as their lawyer, you

 9     know.    Mike Higgins from TTA he knows this is Class action

10     for the Buccaneers.     He knows we're working for the whole

11     Class.    He doesn't think it's all about Mike Higgins or

12     anything.    He hadn't told -- he hasn't told me anything

13     secret about his business, or some personal injury or

14     whatever.    He's not going to call me up.      I'm not his lawyer.

15     I'm the guy who does junk fax cases.        When I call people I

16     say, "You know, Phil Bock, the junk fax lawyer," and then we

17     laugh and that's what it is.

18                  So when it becomes an individual case, we try to

19     get the case settled, and try to, you know -- say it's

20     affirmed by the Class cert, denial affirmed by the US Supreme

21     Court, then we say, "All right.       We might as well take the

22     500 bucks or whatever."

23     Q.      So based on that understanding would it be fair to say

24     then, information that Mr. Oppenheim would have known from

25     the prior mediations, based on your understanding, then that



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 1     would not have been confidential or privileged information?

 2     A.   Yes, I agree with that.      Yeah, I think that.      I think

 3     Dave Oppenheim should have filed -- he could have filed his

 4     own case.    I think he should have been involved in the

 5     mediation.   I think Wayne Anderson should have been involved

 6     in the mediation.     I don't think it's Medical and

 7     Chiropractic's case.     I don't think it's Technology Training

 8     Associates case, and if Technology Training Associates says,

 9     "We want to do this, or we want to do that," and it was

10     against the Class's interest, I would say, "Well, that's

11     interesting," and I would get a different Plaintiff and I

12     would say, "You know what, you're not in the case any more."

13     And I've done -- we've had that happen in cases with Mr.

14     Wanca where there is some problem with the named Plaintiff

15     being a problem and they are not the named Plaintiff anymore.

16     Q.   So would you agree then, information that Mr. Oppenheim

17     had about the prior mediation was valuable?         Would it have

18     been very helpful in the mediation in this case?

19     A.   No, not really.

20     Q.   Why not?

21     A.   Because, you know, what would be -- he never said what

22     they offered, or what the Buc's were willing to pay, or

23     anything like that.     But even if he did, it wouldn't have had

24     anything to do with what we were going to do.

25     Q.   Why not?    Wait a minute.     Who would not want to know the



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 1     prior information?     Why wouldn't that be valuable

 2     information?

 3     A.      Yeah, I don't know -- me.    I don't know why that would

 4     be valuable information.       I'm not settling the case based on

 5     what they were negotiating or what they were hoping for

 6     because I know how Mr. Wanca negotiates settlement.          That's

 7     not how I try to negotiate my settlements.

 8     Q.      But it was Mr. Oppenheim doing the negotiations, was it

 9     not?

10     A.      That what they said.    I have no idea.    Yes, I would

11     think it would be Dave Oppenheim.       He's their primary

12     negotiator.

13     Q.      So if I understand your testimony then, it wasn't -- you

14     didn't confer with Mr. Oppenheim about the mediation

15     information, not based upon any perception of a conflict, but

16     because it just didn't matter to you, is that accurate?

17     A.      Exactly.   No offense to Mr. Oppenheim, but we know how

18     to negotiate with the Defense team and figure out exactly how

19     much money we can get, and it took a couple different

20     mediation sessions.     It took some emails from Mr. Cohen

21     about, "That's it.     Forget it.    Good luck with the other

22     guys.    We're out.   Do this, or do that by high noon."       That

23     kind of thing.     It wasn't like, "Well, how much would they

24     have taken?    Well, we'll do it."     That was not -- that wasn't

25     it.    So I wouldn't have cared, you know.



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 1     Q.   All right.    Mr. Bock, that's all the questions I have.

 2     Thank you.

 3                  THE COURT:   Mr. Cohen, did you want to put anything

 4     else on the record?

 5                  MR. COHEN:   Very briefly if I may, Judge.

 6                  THE COURT:   You may.

 7                  MR. COHEN:   I'm not positive what everyone's

 8     interpretation or construction of Mr. Bock's reference to,

 9     "That we reviewed things within the public record going into

10     the first mediation," and if I may ask Mr. Bock questions to

11     clarify?

12                  THE COURT:   Sure, please.

13                                CROSS-EXAMINATION

14     BY MR. COHEN:

15     Q.   Are you aware that at your instruction I communicated

16     with counsel for the Buccaneers after it was decided that

17     there was interest in pursuing settlement negotiations that

18     we, as the punitive Class counsel, needed to undertake full

19     due diligence.    Are you aware of that?

20     A.   Yes.    Now I remember that, yes.

21     Q.   Are you aware and do you recall that in response to that

22     Buccaneers counsel agreed to make available to us pretty much

23     anything and everything we wanted that was available to all

24     counsel in the Cin-Q case?

25     A.   I do remember that.      I wasn't party to those



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 1     conversations so I had forgotten.       I'm sorry.

 2     Q.   Do you recall though, that we then did actually receive,

 3     through a download, depositions, pleadings, anything and

 4     everything that may not have otherwise been available in full

 5     on the Court website itself?

 6     A.   Yes.

 7     Q.   And when you talked about five or six attorneys, two

 8     paralegals spending day after day, every day reviewing,

 9     organizing, discussing, did it include all of those materials

10     that we received from Buccaneers counsel --

11     A.   Yes.

12     Q.   -- so that we could do our due diligence?

13     A.   Yes.

14     Q.   You indicated something about you know how Mr. Wanca

15     negotiates, and then you also acknowledge that Mr. Oppenheim

16     would have been the lead negotiator when he was with Cin-Q or

17     -- with the Wanca firm in the Cin-Q mediation.         Have you

18     attended mediations over the years many times with

19     Mr. Oppenheim?

20     A.   Yes.

21     Q.   These were joint cases where Bock Law Firm and Wanca Law

22     Firm were co-class counsel and each sent someone to the

23     mediations?

24     A.   Yes.

25     Q.   Do you know how Mr. Oppenheim approaches mediation?           How



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 1     he approaches the negotiation in a mediation?

 2     A.   Yes.

 3     Q.   And who taught him that?

 4     A.   Well, to some extent I did, I guess.        I think he says

 5     that I came up with the, you know, the term sheet we use, and

 6     sort of the demand letter and stuff and he sort of perfected

 7     the process.

 8     Q.   Does that process operate the same whether Mr. Oppenheim

 9     is doing it when he's at the Wanca Law Firm or you're doing

10     it when you're at the Bock Law Firm?

11     A.   Um, you mean generally how do we negotiate a class-wide

12     settlement?    It's basically the same, yeah.

13     Q.   So in order for there to be some significant difference

14     between what goes on in a Wanca negotiation without you

15     there, and what goes on in a Bock Law Firm negotiation

16     without Wanca there, if the basic approach and methods are

17     the same, would it all come down to the size of the class

18     fund being the fundamental difference in whether settlement

19     gets done or not?

20     A.   Um, yes, generally.      I mean, it's about getting the

21     Defendant the pay as much as, you know, $1 less than they

22     would have walked out and never talked to us again.

23     Q.   And in terms of getting adequate compensation for a

24     Class, do you take account of anticipated or projected claim

25     rates based on experience in the field?



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 1     A.      Yes.   Yep.

 2     Q.      So that you need an amount of money in the fund that

 3     will allow for a certain amount of attorneys fees, any other

 4     costs coming out, if there are going to be incentive awards

 5     to the class representatives, and then, hopefully more than

 6     adequate funds to cover anticipated claim rates?

 7     A.      That's right.

 8     Q.      If you already have a number from the Defendant in

 9     mediation of a class action that would be sufficient to do

10     all that, it would cover your attorney's fees, it would cover

11     any other costs, it would cover incentive awards, and it

12     would be more than sufficient to cover any reasonably

13     plausible claims rate, and the attorney nevertheless insists

14     on a larger fund for the Class, who is the only person that

15     benefits from that larger fund?

16     A.      The attorney.

17     Q.      Because he increased the fund, he takes the same

18     percentage, but it's larger because the fund was larger?

19     A.      Exactly.      Yeah, if the Court awards the fees based on

20     percentage of the fund, the bigger the fund, the bigger the

21     fees.    And this settlement is -- I think everybody -- I think

22     it's a 21-percent claims rate.        If there is 21 percent or

23     less claimed from the fund, everybody gets paid 100 percent

24     of their claim, and -- if it's higher than the share

25     pro-rata.



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 1     Q.   In your experience have you ever seen a claim rate come

 2     near that?

 3     A.   I think one time we did.       There was a case called

 4     Eclipse vs. US Compliance a long time ago, and we did two or

 5     three different claims processes, and I don't remember what

 6     it was, but -- but generally the claims rate is going to be

 7     four or five percent, probably, in a junk fax case, and

 8     sometimes it's higher, sometimes it's lower.         I'm not sure

 9     why exactly but --

10                  MR. COHEN:   Judge, I don't think I had anything

11     further.     Thank you.

12                  THE COURT:   All right.   Thank you.    Thank you,

13     Mr. Bock.     You may step down.

14                  (Witness excused.)

15                  THE COURT:   Mr. Oppenheim, if you would come

16     forward.

17                  MR. OPPENHEIM:   Sure.

18                  MADAM CLERK:   Raise your right hand.

19     (Witness sworn.)

20                  THE WITNESS:   I do.

21                  MADAM CLERK:   Thank you.   Have a seat.     I'll ask

22     you to please state your name for the record, spell your last

23     name, please.

24                  THE WITNESS:   David Max Oppenheim,

25     O-P-P-E-N-H-E-I-M.



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 1                MADAM CLERK:    Thank you.

 2                              DAVID M. OPPENHEIM

 3     Called as a witness herein, having been first duly sworn

 4     was examined and testified as follows:

 5                                  EXAMINATION

 6     BY THE COURT:

 7     Q.   Mr. Oppenheim, let me just -- the inquiry is going to be

 8     short, so let me just be clear in the questions.          Prior to

 9     changing firms were there ever any discussions with anyone at

10     the Bock Firm about your involvement in the Buccaneers

11     litigation?

12     A.   Um, there may have been.       Um, I know that when Brian

13     Wanca first started cutting Phil Bock out of cases and filing

14     cases on his own, that it was all a big secret, and everybody

15     was told not to let on about anything, and then over time

16     that relaxed, and so, things were no longer big secrets.             The

17     only time I can remember clearly, though, is a mediation that

18     I did in Tampa with Mike Addison and Phil Bock in the room

19     with me when Addison started talking about the Buc's case in

20     front of Phil.

21     Q.   The decision to change firms was the Buccaneers case in

22     any way involved in your decision to change firms?

23     A.   No.

24     Q.   When you changed firms, as I understand your prior

25     testimony, you submitted your resignation April 7, 2016, is



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 1     that correct?

 2     A.   Yes, that was a Thursday.

 3     Q.   And then, the following Monday you began work at the

 4     Bock Firm, is that correct?

 5     A.   I did.

 6     Q.   Was there ever any contemplation by you individually,

 7     prior to any other discussions with anyone else at the Bock

 8     Firm, about pursuing independent a Buccaneers litigation?

 9     A.   No.

10     Q.   Why not?

11     A.   Um, I never had done any case individually.          I worked

12     for Brian Wanca for seven years, and I worked closely with

13     Phil Bock in his firm over that time.        We still have a huge

14     joint caseload, and got a better offer to go work for Phil

15     instead of Brian, but either way I was going to be a part of

16     the team.

17     Q.   So then, if you clarify, when is it that you first

18     learned about the Bock Firm pursuing a litigation against the

19     Buccaneers?

20     A.   Well, obviously I was in this April 29th email that was

21     cast in the hypothetical, and the hypothetical of me going

22     out and doing it, which I sort of brushed off, but apart from

23     that I got this electronic receipt late in the day on Friday,

24     May 6th.

25     Q.   Why would you brush it off?



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 1     A.   You know, there was a lot of bad blood between Brian

 2     Wanca and Phil Bock.     I just took it as Phil venting.

 3     Q.   Why not participate in the litigation now?

 4     A.   That was Phil's call, I think, in part to protect me.              I

 5     know that as part of the retaliation, Brian Wanca filed an

 6     Illinois ethics complaint against me, and it was easy to say

 7     to them, as it is to your Honor, that I have nothing to do

 8     with the case.    I haven't done anything with the case.         So to

 9     the extent somebody is wrong, and I shouldn't be doing things

10     with the case, then I'm not.

11     Q.   So to be clear, at any point did you inform anyone at

12     the Bock Firm about any information you gathered during the

13     mediation process in the underlying litigation when you were

14     at the Wanca Firm?

15     A.   Apart from the notation that you'll see in that

16     April 29th email chain that Brian wanted to set the record

17     for TCPA settlements, which I think is $75 million, which I

18     think was something Phil knew anyway is a professional goal

19     of Brian's, no.

20     Q.   All right.    Thank you.    You may step down.

21     A.   Thank you, your Honor.

22                 (Witness excused.)

23                 THE COURT:   Mr. Cohen, do you want to make any

24     argument?

25                 MR. COHEN:   Judge, I would note two things.       One,



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 1     we do have Professor Generous here.       We had submitted his

 2     report.   The Court may not feel it's appropriate at all.          The

 3     Court may feel his report is sufficient.        The Court may wish

 4     to hear from him.     That's why we brought him here.       I leave

 5     that up to the Court whether you would like to hear from

 6     Professor Generous.

 7                 THE COURT:    Well, let me ask you this:      Everyone is

 8     focused on an issue as to whether the representation is

 9     materially adverse.      One of the concerns I've always had is,

10     what information may have been divulged that would have been

11     to the disadvantage of the former client?        I don't know what

12     "disadvantage" means because it's not clear.

13                 As I see it there's an argument to be made, even as

14     to that late bit of testimony, informing the new firm that

15     there's a stall in the settlement discussions based upon

16     whatever, and in this accusation that a demand is too high.

17     Certainly then, it's obvious, creating an opportunity that

18     Mr. Bock recognized, which obviously spurred him then to

19     potentially pursue his own independent litigation.

20                 If that is information that was only known based

21     upon those who participated in the mediation, that there was

22     essentially a stalemate, given the demands, can that be then

23     perceived as a disadvantage to the former client?          That is,

24     the disadvantage being the opportunity for an incentive

25     award.    All former clients -- all clients are told, as



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 1     Mr. Bock stated, there is opportunities for an incentive

 2     awards but no guarantee.      But the mere opportunity to obtain

 3     an incentive award is nonetheless an opportunity that would

 4     be foreclosed to the prior Class representatives if the Court

 5     certifies the Class in this case.

 6                MR. COHEN:    May I address that?

 7                THE COURT:    You may address it either by calling

 8     your witness or by argument, but that is something I think

 9     needs to be addressed.

10                MR. COHEN:    I appreciate that, Judge.       While I

11     believe that Professor Generous's declaration and his

12     opinions in this case are relevant to the, I guess, more

13     technical topic that Judge Honeywell's Order addresses, I

14     don't believe he has --

15                THE COURT:    There is no comment about B.

16     Everything focuses on 4-1.9(a).

17                MR. COHEN:    So, I would note a few things.       One is,

18     and I believe this is the natural flow, it's an unavoidable

19     following from the case law that comes from the Ninth

20     Circuit, the Seventh Circuit, the Fifth Circuit, that's

21     Radcliff, Eubanks & Lacey Oil cases, which dovetail right

22     into what Judge Honeywell concluded, and so the natural

23     following from Judge Honeywell's Order, I believe, is that

24     Dave Oppenheim had, with no involvement at the Bock Law Firm,

25     said to Brian Wanca, "I've had enough of being somebody



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 1     else's guy.    I'm going to be my own guy," he went out and

 2     opened his own firm through perfectly legitimate

 3     solicitations he found a person who was a member of the Buc's

 4     Class under Radcliff, Eubanks, Lacey Oil under Judge

 5     Honeywell's ruling, nothing would have precluded

 6     Mr. Oppenheim from proceeding with his own case.

 7                THE COURT:    I've looked at all these cases and I

 8     recognize that, but it's still nonetheless troubling.          For

 9     example, if there is no representation to Medical

10     Chiropractics or Cin-Q, why not just sign them up?          If there

11     is no responsibility to them individually and they are only

12     simply class representatives, why go find someone else?           Why

13     can't you simply approach them to pursue the litigation to be

14     class counsel?

15                MR. COHEN:    Well, I'm not certain, in your

16     question, which scenario you're engaging.        That Mr.

17     Oppenheim, in his own firm, would do that or that Bock Law

18     Firm could or should have done that?

19                THE COURT:    As I understand the argument that in

20     any Class matter the individual is not the client has always

21     been the representation.      My point is, if the individual is

22     not the client, then why go seek other clients to be the

23     Class representatives?     If you are looking to represent the

24     Class, why could you not approach the original -- those who

25     have been proposed to be the Class representatives to



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 1     represent them?

 2                 MR. COHEN:   I'm not positive that we couldn't, but

 3     I wouldn't advise that for the same reason we screened

 4     Mr. Oppenheim off.     Because if anybody took a dimmer view of

 5     it, then we would want to take the high road, and I think

 6     that's the road we took from start to finish here and I

 7     appreciate that question.

 8                 Your Honor made a second point that we did address

 9     in the last section of our prehearing brief that we filed,

10     but I wanted to make sure we reiterated it.         The case law

11     supports the proposition, and Newburgh very strongly supports

12     the proposition that a Class representative in one punitive

13     class, or certified class, who ends up not being the case

14     that gets the class action settled, it's -- the case is

15     settled in a different class action, the representative in

16     the defunked case that didn't get settled can come into the

17     settling case and petition for an incentive award in the

18     exact same fashion for the benefit that they conferred upon

19     the case.   And not only would Medical & Chiropractic and

20     Cin-Q have the right to do so in the TTA case if this Court

21     were to ultimately approve it, but we have gone on record

22     specifically saying we would not oppose or object to that.

23                 THE COURT:   Let me interrupt you there.       Can prior

24     counsel seek to obtain fees out of the Class settlement for

25     their representation?



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 1                MR. COHEN:    I believe that prior counsel have the

 2     right to petition for that, and that if the Court believes

 3     that it's warranted under the circumstances, that they have

 4     contributed benefit to the Class, and that they have

 5     maintained a level of integrity and loyalty to the best

 6     interest of the Class and not their own self-interest, then

 7     this Court would have the ability and jurisdiction to

 8     apportion fees as it saw reasonable and equitable.          But I

 9     would hasten to mention that if we ever got to that point and

10     the Plaintiff's counsel in the Cin-Q were doing that, I would

11     think it would be incumbent upon this Court to ascertain what

12     went on in those mediations, why that case didn't get settled

13     after so long.    And if the Court still felt that Cin-Q's

14     counsel contributed so much to the case, then the Court could

15     still do whatever it felt was equitable.        I just think that

16     Medical & Chiropractic and Cin-Q are absolutely entitled to

17     come in and petition for an incentive award here and we won't

18     oppose it at all.     So they are not hurt.     And if Cin-Q's

19     counsel thinks they can withstand the light of truth on what

20     happened, let them come in and do it.

21                THE COURT:    All right.    Thank you.

22                MR. COHEN:    Thank you.

23                THE COURT:    Do you want to be heard?

24                MR. MESTER:    Judge, briefly, if I may.

25                THE COURT:    All right.



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 1                MR. MESTER:    Just three points.      I'll be very

 2     brief.   I just wanted to remind the Court, and I know you

 3     don't need reminding, but in terms of what was known or what

 4     wasn't known, on April the 18th, we had filed that notice for

 5     a settlement conference.      I indicated in that paper that we

 6     believed we were at an impasse on mediation.         That obviously

 7     substantially predates whatever disclosure discussions

 8     occurred in the Bock Firm.      I don't know other than what I

 9     just saw this morning.     I wanted to make that point because

10     that wasn't on the public record, and we then had that

11     hearing where we talked about it very briefly.         And obviously

12     shortly thereafter, the formal notice of impasse was filed

13     with Judge Anderson, the mediator.

14                THE COURT:    I'll note even beyond that whether that

15     was even -- there is nothing on the record to establish that

16     was known to anyone at the Bock Firm, but what was stated,

17     which I think is also refuted but nonetheless, there is a

18     representation on that same date there was information

19     provided from Mr. Addison regarding the difficulty in

20     settling the case.     I understand.

21                MR. MESTER:    That I knew nothing about.       I do know

22     we filed that on the 18th.      I just wanted to point that out

23     to your Honor.

24                The second point I wanted to make is certainly our

25     understanding is and has been all along that the named



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 1     Plaintiffs in the Cin-Q case would be fully entitled to seek

 2     an incentive award from your Honor at your Honor's

 3     discretion, and likewise, as Mr. Cohen indicated, that there

 4     would be an opportunity for the counsel in the Cin-Q case to

 5     do likewise subject to, I agree with Mr. Cohen, an inquiry

 6     into what transpired previously in mediation.

 7                And lastly, just from our perspective, the answer

 8     to why I wouldn't contact Cin-Q or "MC," would be, I suspect,

 9     in part, the same reason Mr. Cohen's firm wouldn't.          I think

10     under at least Illinois rules that would be considered a

11     violation of Rule 4.2 because they are represented parties.

12     So I wouldn't obviously contact them, and I suspect the

13     lawyers in the Bock Firm feels likewise.

14                THE COURT:    I agree with that and that's the point

15     of my question, they are representing parties, which then

16     indicates there's a representation to an individual client,

17     not a Class.

18                MR. MESTER:    But represented parties in their

19     capacity as named Plaintiffs in the Class.

20                THE COURT:    Name classes individually and on behalf

21     of the Class.    I'm not sure it's really a difference with the

22     distinction, but I understand the argument.

23                MR. MESTER:    Thank you, your Honor.

24                THE COURT:    All right.    I know this is a very

25     unusual proceeding, and so I appreciate everyone's patience



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 1     with it.   The information has been very helpful.         My intent

 2     is to get something out as quick as possible one way or the

 3     other to go forward.     Mr. Cohen, I believe you already

 4     answered this question, but I do want to be clear about this.

 5     If the Court does go forward in this matter here and

 6     preliminary does an approval, it is, again, your position

 7     that the Court is only -- based on a preliminary approval,

 8     can adjust both the consideration of the fees award, and how

 9     that's awarded, but then also, as to incentive awards as to

10     whoever else may petition for an incentive award in

11     determining whether they should receive an incentive award?

12                MR. COHEN:    Your Honor, if I understand your

13     meaning, I believe it's not just in this case, I believe it's

14     in all class actions that the Court retains the jurisdiction

15     to approve a settlement in terms of its benefit for the

16     Class, but determine for one reason or another that the

17     attorney fee petition by the counsel that got the case

18     settled needs to be left as is, needs to be reduced.

19                And as part of that same jurisdiction, I believe

20     the Court has the full authority to consider a fee petition

21     by Counsel in competing class actions for the benefit they

22     brought.

23                THE COURT:    All right.    Anything else?

24                MR. COHEN:    No, your Honor.

25                THE COURT:    Mr. Cohen, anything else?



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 1                MR. BOCK:    No, your Honor.

 2                THE COURT:    All right.    We'll be in recess.     Thank

 3     you.

 4     (Court adjourned at 11:26 a.m.)

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 1                           CERTIFICATE OF REPORTER

 2

 3     COUNTY OF HILLSBOROUGH        )

 4                                   )   SS.

 5     STATE OF FLORIDA              )

 6

 7     I, MELISSA A. PIERSON, OFFICIAL COURT REPORTER, REGISTERED

 8     PROFESSIONAL REPORTER, IN AND FOR THE UNITED STATES DISTRICT

 9     COURT FOR THE MIDDLE DISTRICT OF FLORIDA, DO HEREBY CERTIFY

10     THAT I REPORTED, STENOGRAPHICALLY, THE FOREGOING PROCEEDINGS

11     AT THE TIME AND PLACE HEREINBEFORE SET FORTH; THAT THE SAME

12     WAS THEREAFTER REDUCED TO TYPEWRITTEN FORM BY MEANS OF

13     COMPUTER-AIDED TRANSCRIPTION; AND I DO FURTHER CERTIFY THAT

14     THIS IS A TRUE AND CORRECT TRANSCRIPTION OF MY STENOGRAPHIC

15     NOTES.

16

17

18     DATE:    10-21-2016

19

20     S:/MELISSA A. PIERSON

21     MELISSA A. PIERSON, CA/CSR 12499

22     IL/CSR 084.003138, RPR

23     FEDERAL OFFICIAL COURT REPORTER

24

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                          UNITED STATES DISTRICT COURT
